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            SUPPLEMENTAL
               EXHIBIT
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Evidence Submitted by
Kingdom of Spain
VIDEO CAMERA SURVEILLANCE
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Assailants Restrain
Embassy Residents
WITNESS TESTIMONY
VIDEO CAMERA SURVEILLANCE
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ANNEX 6                                       Testimony of
D K T. 1 1 8 ‐ 1 AT 7 4 ‐ 8 3
                                              Lynn Gayero Dayao
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ANNEX 7                                        Testimony of
D K T. 1 1 8 ‐ 1 AT 9 8 ‐ 1 0 3
                                               Teofila Villarroel Orozco
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                                  #:2802
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Cho Sun Hi Injured
Escaping Assailants
W I T N ESS T ESTI M O N Y
T ESTI M O N Y O F P O L I C E O F F I C E RS
M E D I C A L R ECO R D S
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                                                  #:2805




ANNEX 5                                       Testimony of
D K T. 1 1 8 ‐ 1 AT 6 4 ‐ 6 6
                                              Oscar Santiago Perales
                Case 2:19-cv-05397-FLA-JPR Document 202-1 Filed 05/26/21 Page 20 of 57 Page ID
                                                  #:2806




ANNEX 3
D K T. 1 1 8 ‐ 1 AT 1 6 ‐ 2 8
                                              Testimony of
ANNEX 4                                       Police Officers
D K T. 1 1 8 ‐ 1 AT 4 7 ‐ 5 2
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ANNEX 1
D K T. 1 1 2 ‐ 1 AT 1 0 ‐ 2 4
                                              Medical Records of
( S EA L E D )
                                              Cho Sun Hi
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Police Inquiry Thwarted
TESTIMONY OF POLICE OFFICERS
VIDEO CAMERA SURVEILLANCE
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ANNEX 3
D K T. 1 1 8 ‐ 1 AT 1 6 ‐ 2 8
                                              Testimony of
ANNEX 4                                       Police Officers
D K T. 1 1 8 ‐ 1 AT 4 7 ‐ 5 2
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Assailants
Leave Embassy
VIDEO CAMERA SURVEILLANCE
TESTIMONY OF POLICE OFFICERS
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                                                  #:2815




ANNEX 3
D K T. 1 1 8 ‐ 1 AT 1 6 ‐ 2 8
                                              Testimony of
ANNEX 4                                       Police Officers
D K T. 1 1 8 ‐ 1 AT 4 7 ‐ 5 2
             Case 2:19-cv-05397-FLA-JPR Document 202-1 Filed 05/26/21 Page 30 of 57 Page ID
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Attack of Embassy:
Aftermath
T ESTI M O N Y O F P O L I C E O F F I C E RS
V I D EO C A M E R A S U RV E I L L A N C E
M E D I C A L R ECO R D S
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ANNEX 3
D K T. 1 1 8 ‐ 1 AT 1 6 ‐ 2 8
                                              Testimony of
ANNEX 4                                       Police Officers
D K T. 1 1 8 ‐ 1 AT 4 7 ‐ 5 2
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ANNEX 1
D K T. 1 1 2 ‐ 1 AT 1 0 ‐ 2 4
                                              Medical Records of
( S EA L E D )
                                              Cho Sun Hi
                Case 2:19-cv-05397-FLA-JPR Document 202-1 Filed 05/26/21 Page 37 of 57 Page ID
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ANNEX 2
D K T. 1 1 2 ‐ 1 AT 4 1 ‐ 4 9
                                              Medical Records of
( S EA L E D )
                                              Yun Sok So
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Recovered
Weapons and Items
POLICE PHOTOGRAPHS
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Recovered
Embassy Vehicle
POLICE PHOTOGRAPHS
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Weapons and Items
Purchased by Assailants
STORE RECEIPTS
VIDEO CAMERA SURVEILLANCE
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Cho Sun Hi Seeks
Police Assistance
TESTIMONY OF POLICE OFFICERS
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ANNEX 3
D K T. 1 1 8 ‐ 1 AT 1 6 ‐ 2 8
                                              Testimony of
ANNEX 4                                       Police Officers
D K T. 1 1 8 ‐ 1 AT 4 7 ‐ 5 2
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Victim Identifies Relator
April 3, 2019

PHOTOGRAPHIC ARRAY
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Statements of Diplomats,
Family Members, and
Witnesses
